Case 3:17-cv-01843-L-BT Document 35 Filed 11/15/21                    Page 1 of 2 PageID 1051



                           IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

JARVIS DUNK McDAVID,                              §
                                                  §
                 Petitioner,                      §
v.                                                §   Civil Action No. 3:17-CV-1843-L-BT
                                                  §
DIRECTOR, TDCJ-CID and                            §
J. WILSON, Warden,                                §
                                                  §
                 Respondent.                      §

                                              ORDER

       On October 15, 2021, the Findings, Conclusions and Recommendation of the United States

Magistrate Judge (“Report”) (Doc. 33) was entered recommending that the court deny Petitioner

habeas petition (Doc. 1) and dismiss with prejudice this habeas action and Petitioner’s claims that:

(1) the trial court erred; (2) the prosecutor engaged in misconduct; and (3) his attorney provided

ineffective assistance of counsel. No objections to the Report were received as of the date of this

order, and the deadline for filing objections has expired.

       Having considered Petitioner’s habeas petition (Doc. 1), the file, record in this case, and

Report, the court determines that the findings and conclusions of the magistrate judge are correct,

and accepts them as those of the court. Accordingly, the court denies Petitioner’s habeas petition

(Doc. 1) and dismisses with prejudice this habeas action and all claims asserted by Petitioner.

Further, the court directs the clerk of the court to term all pending motions in this case.

       Considering the record in this case and pursuant to Federal Rule of Appellate Procedure

22(b), Rule 11(a) of the Rules Governing §§ 2254 and 2255 proceedings, and 28 U.S.C. § 2253(c),




Order – Page 1
Case 3:17-cv-01843-L-BT Document 35 Filed 11/15/21                                 Page 2 of 2 PageID 1052



the court denies a certificate of appealability.* The court determines that Petitioner has failed to

show: (1) that reasonable jurists would find this court’s “assessment of the constitutional claims

debatable or wrong;” or (2) that reasonable jurists would find “it debatable whether the petition states

a valid claim of the denial of a constitutional right” and “debatable whether [this court] was correct

in its procedural ruling.” Slack v. McDaniel, 529 U.S. 473, 484 (2000). In support of this

determination, the court accepts and incorporates by reference the Report. In the event that

Petitioner files a notice of appeal, he must pay the $505 appellate filing fee or submit a motion to

proceed in forma pauperis on appeal.

        It is so ordered this 15th day of November, 2021.



                                                                 _________________________________
                                                                 Sam A. Lindsay
                                                                 United States District Judge




        *
            Rule 11 of the Rules Governing §§ 2254 and 2255 Cases provides as follows:

                  (a)       Certificate of Appealability. The district court must issue or deny a certificate of
        appealability when it enters a final order adverse to the applicant. Before entering the final order, the
        court may direct the parties to submit arguments on whether a certificate should issue. If the court
        issues a certificate, the court must state the specific issue or issues that satisfy the showing required
        by 28 U.S.C. § 2253(c)(2). If the court denies a certificate, the parties may not appeal the denial but
        may seek a certificate from the court of appeals under Federal Rule of Appellate Procedure 22. A
        motion to reconsider a denial does not extend the time to appeal.

                  (b)      Time to Appeal. Federal Rule of Appellate Procedure 4(a) governs the time to
        appeal an order entered under these rules. A timely notice of appeal must be filed even if the district
        court issues a certificate of appealability.

Order – Page 2
